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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 WILLIAM BARNHOUSE,                            )
           Plaintiff,                          )
 v.                                            )      Cause No. 1:19-cv-958-TWP-DLP
                                               )
 CITY OF MUNCIE, et al.,                       )
           Defendants.                         )

             CONSENT MOTION TO ENLARGE TIME TO FILE REPLY IN
         SUPPORT OF MUNCIE DEFENDANTS’ PARTIAL MOTION TO DISMISS

         Defendants CITY OF MUNCIE, FONDA KING, STEVE STEWART, GORDON

 WATTERS, JOSEPH TODD, STEVE BLEVINS, DONALD BAILEY and TERRY WINTERS

 (the “Muncie Defendants”), by and through one of their attorneys JOSEPH W. SMITH of

 KNIGHT, HOPPE, KURNIK & KNIGHT, LTD., and pursuant to Federal Rule of Civil

 Procedure 6(b)(1)(A) and Southern District of Indiana Local Rule 6-1(a), move to enlarge the

 time to file the reply in support of their Partial Motion to Dismiss Plaintiff’s First Amended

 Complaint, and in support thereof state:

         1.     The Muncie Defendants filed their Partial Motion to Dismiss Plaintiff’s First

 Amended Complaint on August 27, 2019. See ECF #78, #79.

         2.     Plaintiff filed his response to the Muncie Defendants’ Partial Motion to Dismiss

 on September 17, 2019. See ECF #81.

         3.     Pursuant to Southern District of Indiana Local Rule 7-1(c)(2), the deadline for the

 Muncie Defendants to file a reply in support of their Partial Motion to Dismiss is September 24,

 2019.
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        4.      Due to the complexity of the legal issues involved in the Partial Motion to

 Dismiss and obligations in other matters, Defendants do not believe that they will be able to

 prepare a thoughtful and considered reply within the seven (7) days provided by the Local Rules.

        5.      Defendants therefore request an additional seven (7) days to file the reply in

 support of their Partial Motion to Dismiss, to and including October 1, 2019.

        6.      The undersigned has conferred with Counsel for Plaintiff concerning this motion.

 Plaintiff does not object to the relief requested herein.

        WHEREFORE, Defendants City of Muncie, Fonda King, Steve Stewart, Gordon Watters,

 Joseph Todd, Steve Blevins, Donald Bailey, and Terry Winters pray the Court enter an Order

 enlarging the time to file the reply in support of their Partial Motion to Dismiss to and including

 October 1, 2019, and ordering such further relief as the Court deems just.

                                                Respectfully submitted,

                                                /s/ Joseph W. Smith
                                                Joseph W. Smith

 KNIGHT, HOPPE, KURNIK & KNIGHT, LTD.
 Attorney for Defendants, CITY OF MUNCIE, FONDA KING, STEVE STEWART, GORDAN
 WATTERS, OFFICER TODD, STEVE BLEVINS, DONALD BAILEY and TERRY WINTERS
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                                   CERTIFICATE OF SERVICE
       I hereby certify that, on the 20th day of September 2019, the above and foregoing
 document was electronically filed with the Clerk of the Court using the Court’s CM/ECF system,
 which will send notification of such filing to the following CM/ECF participants:

       Katlyn M. Christman kchristman@khkklaw.com, balexander@khkklaw.com
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         Joseph W. Smith jsmith@khkklaw.com, Dbotma@khkklaw.com

 Manual Notice: None.

                                             /s/ Joseph W. Smith
 19-09-20 consent METF MTD reply 7152




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